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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DAO HEALTH,                                    §
                                                §
       Plaintiff,                               §
                                                §
 v.                                             §
                                                     Civil Action No. 2:23-CV-00289-JRG-RSP
                                                §
 CHIARO TECHNOLOGY LIMITED,                     §
                                                §
       Defendant.                               §
                                                §

                                            ORDER

       Before the Court is the Joint Motion to Dismiss (the “Motion”) filed by Dao Health

(“Plaintiff”) and Chiaro Technology Limited (“Defendant”). (Dkt. No. 74.) In the Motion, the

parties represent that the above-captioned case has been resolved and request dismissal of the

above-captioned action WITH prejudice. (Id. at 1.)

       Having considered the Motion, the Court finds that it should be and hereby is GRANTED.

Accordingly, all claims and causes of action asserted between Plaintiff and Defendant in the above-

captioned case are DISMISSED WITH PREJUDICE. Each party is to bear its own costs,

expenses, and attorneys’ fees. All pending requests for relief in the above-captioned case not

explicitly granted herein are DENIED AS MOOT.

       The Clerk of Court is directed to CLOSE the above-captioned case as no parties or

claims remain.


       So Ordered this
       Oct 8, 2024
